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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 4:08CR3148
                                                  )
MICHAEL J. RAYNO,                                 )
                                                  )
                            Defendant.            )

                                         ORDER

       THIS MATTER comes before this Court on defendant's Motion to Continue the

Deadline for Filing any Variance Motion and supporting brief, filing 179. The Court, being

fully advised in the premises, finds that said Motion should be granted.

       IT IS THEREFORE ORDERED that the defendant shall file any Variance Motion

with supporting Brief no later than April 20, 2009.

       Dated this 17th day of April, 2009.

                                                  BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
